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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION
USA §
Case-‘No: SA:25-M -00318(1)
vs.

§
§
- . § Charging District's Case No. : 3:10-CR.2213
(i) Luis Gerardo Méndez-Estevaney §
Defensiant &
Oo WAIVER OF RULE 5 & 5.1 HEARINGS
(Complaint or Indictment)

or

Junderstand that | have been charged in another district, the Western District of Texas -
El Paso

(1) retain courisel or request the assignment of counsel if I am unable to retain counsel;

(2) an identity hearing to determine whether I am the person named in the charges;
(3) production of the warrant, a certified copy of the warrant, or a reliable electronic

_ copy of either;
(4) a preliminary hearing to determine whether there is probable cause to believe that

an offense has been committed, to:be held within 14 days of my first appearance if |
arn in custody and 21 days otherwise, unless 1 have been indicted beforehand.

(5) whearing on any motion by the government for detention; .
(6) request a transfer of the proceedings to this district under Fed. R. Crim. P. 20, to
I agree to waive my tight(s) to:

a4 ah identity hearing aiid production of thé warrant,

4

a preliminary hearing in thisdistrict,
¢ 4 a detention heating in this district,

I consent to the issuance of an order requiring my appearance in the prosecuting district where
the charges'are pending against me.

